TIMFse 5:23-C¥R90802  Bocument 172-4 PPR 04/28/25 Page 1 of 1 PagelD #: 5187

09/22/2023 phone adjuster OBC to SF : SF handling rep Joyce Thomas 972-744-1844 - Joyce

12:22 PM talking w. TL dept and determine on decision of TL and if they are or
are not going to incl 20 k tow fee - advised i will pend out until i get
directive from SF -

09/19/2023 email shop sent to carrier for PTL
7:02 PM

09/19/2023 Email Sent statefarmclaims@sta State Farm,

7:02 PM tefarm.com

Snapsheet has received a supplement for the referenced claim numb
er. Based on the updated estimated cost of repair, we have complete
da valuation to determine the ACV. This amount has not exceeded th
e total loss threshold, however we are considering this 2014 Keyston
e MOUNTAINEE a potential total loss based on the information below:

Vehicle is a potential total loss, based on the following:

$30,749.12 is the potential cost to repair this 2014 Keystone MOUNT
AINEE.

This amount is based on:
$9,749.12 Estimate Amount

$21,000.00 Potential Hidden Damage ( 20k for tow to shop per shop
estimate )

The total loss threshold was determined using the following:
$31,671.00 ACV
$0.00 Salvage Return

$23,753.25 Total Loss Threshold (State)

Repair Facility:

Bam Sales Llc D.B.A. Jennings Rv Sales
506 MOUNT HOREB RD

Princeton, WV 24739

304-487-0495

Please advise if we should proceed as repairable or deem a construct
ive total loss. The repair facility has stopped repairs pending a respon
se.

Regards,
Victoria Echevarria
Snapsheet Supplement Department

Snapsheet, Inc.

SNAPSHEET-000084
